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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA,
Plaintiff,
VS

AMY BORTOT, Criminal No: 2:21-CR-00355-7-CCW

Defendant.

ORDER APPOINTING COUNSEL

The Court, upon a showing that the defendant is financially unable to employ counsel and
does not wish to waive his/her right to the appointment of counsel, attorney
RYAN R. SMITH is appointed as counsel for defendant AMY BORTOT

pursuant to provisions on the Criminal Justice Act, 18 U.S.C §3006A.

This appointment is effective the 31st day of August, 2021.

  

 

LigiPenihan  “~

United States Magistrate Judge
